Fi|l in this information to identify your case: Fil E D

 

 

 

 

Debtor 1 CARA - .

First Name l.aell Nr!rni:
Debtor2 NA APR 0 2 2018 v{?\s/
(Spousel iffiling) Flrsl Name Midd|e Name Last Name 1
United States Bankruptcy Couit for the: NOrthernDDiiStffiCt Of Ca|ifornia BANKRUPTCY COURT

__ OAKLAND, CALlFORN|A n _ _ _

ease number 18-40460 JGE. C. No\/ACK Check 'f fh!~°_» 'S an
(,,known) amended filing

 

Officia| Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possib|e. Use Part 1 for creditors with PR|0R|TY claims and Part 2 for creditors with NONPR|OR|TY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. A|so list executory contracts on Schedule
A/B: Propeny (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Properl.‘y. lf more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

m List All of Your PR|0R|TY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
n No. Go to Part 2.
n Yes.

2. List all of your priority unsecured claims. lf a creditor has more than one priority unsecured claiml list the creditor separately for each claim. For
each claim listedl identify what type of claim it is. lfa claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possib|e, list the claims in alphabetical order according to the creditor's name. lf you have more than two priority
unsecured claimsl t“il| out the Continuation Page of Part 1. lf more than one creditor holds a particular claiml list the other creditors in Part 3.

(For an explanation of each type of claim. see the instructions for this form iri the instruction booklet.)

 

Total clalm Frlorlty Nonprlorlty

 

 

 

 

 

 

 

 

 

amount amount
2_1
Last 4 digits of account number _ __ _ _ $ $ $
Priority Craditofs Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply
oily stale ziP code n C°mingem
_ El unliquidated
Who incurred the debt? Check one. n Disputed
El Debtor1 only
C| Debtorz only Type of PRioRlTY unsecured claim:
g Debtor1 and Debt°r 2 only n Domestic support obligations
At least One Of the debtors and another n Ta)<es and certain other debts you owe the government
n check 'f th's °|a'm 's f°r a °°mmumty debt cl Claims for death or personal injury while you were
ls the claim subject to offset? 'nt°X'°ated
E| NO n Other. Specify
_ §' Yes_ _ _ _ _ . . . .
|2'2 l Last4 digits of account number _ _ _ _ $ $ 5

 

 

Priority Creditofs Name
When was the debt incurred?

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply
El Contingent

city stale ziP code Cl Unllquidated

Who incurred the debt? Check one. n Disputed

n Debtor1 only

n Debtor 2 only

m Debtor1 and Debtor 2 only

n At least one of the debtors and another

Type of PR|OR|TY unsecured claim:
l;l Domestic support obligations
El Ta)<es and certain other debts you owe the government

El l ' r ' ' li'l
l;l Check if this claim is ioi a coiiiiiiuiiily debt C aims Or death Or personal lnjury W le you Were

 

intoxicated
le the claim subject to offeet? El other. specify
m No
n Yes

Case: 18-40460 Doc# 15 Filed: 04/02/18 Entered: 04/02/18 14:21:25 Page 1 of 8
Of'ficia| Form 106E/F Schedu|e ElF: Creditors Who Have Unsecured Claims page 1 of8_

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CAFiA.-E-E-FFH'WA'CORDON|

Debtor 1

 

Firsl Name Middle Name Last Name

m List All of Your NONPR|OR|TY Unsecured Claims

ease number{mm,, 18-40460 JGE. c. No\/ACK

 

 

3. Do any creditors have nonpriority unsecured claims against you?

L_-l No. You have nothing to report in this part_ Submit this form to the court with your other schedules

Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. lf a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.|f you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

BANK oF All/lERch

 

Nonprlorlty Creditor‘s Name

P.O. BOX 982238

 

 

Number Streel
EL PASO TX 79998
Ciiy State Z|P Code

Who incurred the debt? Check one

El Debtor1 only

l;l Debtor2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?
Cl No
Cl Yes

BANK oF All/lERlCA

 

Nonprlorlty Creditor's Name

P.O. BOX 982238

 

 

Number Street
EL PASO TX 79998
City Slate ZiP Code

Who incurred the debt? Check one

n Debtor1 only

n Debtor 2 only

U Debtor1 and Debtor 2 only

a At least one of the debtors and another

lIl check if this claim is rcr a community debt

ls the claim subject to offset?
n No
El Yes

l§| BARCLAYS BANK DELAWARE

 

Nonprlorlty Creditor's Name

125 SOUTH WEST STREET

 

 

Number Street
WlLl\/|lNGTON DE 19801
City State Z|P Code

Who incurred the debt? Check one

n Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

Cl Check if this claim is for a community debt

ls the claim subject to offset?
n No
El Yes

Tot£ll claim

Last4 digits of account number_5_ _i l _5 $ 7947_00

When was the debt incurred? 01/20/2016

As of the date you file, the claim is: Check all that apply

m Contingent
El unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

a Student loans

n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

Cl Debts to pension or profit-sharing plans. and other similar debts

n Other. Spet:ify CREDIT CARD

 

- Last4digits of account number 0“_4 9 _7 n n $__?M

When was the debt incurred? 0_7/14/2009

As of the date you file, the claim is: Check all that apply

El Contingent
l:l Unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

cl Obligations arising out of a separation agreement or divorce
llial you did ilul lepull as piiulily claims
n Debts to pension or profit-sharing plans, and other similar debts

n Other Specify CRED|T CARD

Last 4 digits of account number _6 6 4 _2 9069_00

__ $

When was the debt incurred? 03/01/2015

As of the date you file, the claim is: Check all that apply

m Contingent
n Unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

m Student loans

m Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
n Debts to pension or profit-sharing plansl and other similar debts

|;l Other. Specify CRED|T CARD

Case: 18-40460 Doc# 15 Filed: 04/02/18 Entered: 04/02/18 14:21:25 Page 2 of 8

Of'iicia| Form i{JGEl`I`-'

Schedule ElF: Creditors Who Have Unsecured Claims

page?_ Of8_

Debtor 1

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CAHABMQF{DON|

 

Flri\l Nlirni: MJddio Na `o Last Niiiiu.i

18-40460 JGE. C. NOVACK

Case number wouldn

 

m Your NONPR|OR|TY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4. followed by 4.5, and so forth.

 

4,4

 

 

 

 

Official Form iOGE/F

 

CAP|TAL ONE BANK USA NA

 

Nonpriority Creditor's Name

PO BOX 30291

 

Number Slreet

SALT LAKE C|TY UT 84130

 

City St:ilo Z|i-" Code

Who incurred the debt? Check one

El Debtor1 only

El Debtor 2 only

n Debtor1 and Debtor 2 only

El At least one of the debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?

l;l No
El Yes

D|SCOVER F|NANC|AL SERV|CES LLC

 

Nonpriority Creditor's Name

PO BOX15316

 

Number Sireel

W|L|V||NGTON DE 19850

 

City Slate Z|P Code

Who incurred the debt? Check one.

n Debtor1 only

m Debtor 2 only

m Debtor1 and Debtor 2 only

n At least one of the debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?

n No
n Yes

JP l\/|ORGAN CHASE BANK, NA

 

Nonpriority Creditor‘s Name

P,O, BOX183166

 

Number Street

COLU|\/|BUS OH 43218

 

City S!a|o ZiP Code

Who incurred the debt? Check one

l;l Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

m At least one of the debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?

m No
[;l Yes

Total claim

Last 4 digits of account number _7_ _1__ l _§_
07/17/01

3 8172.00

When was the debt incurred?

As of the date you file, the claim is: Check all that app|y.

n Contingent
l;l Unllquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

l;l Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

m Other. Specify CRED|T CARD

 

Last 4 digits of account number l l l l s 5218.00
When was the debt incurred? 07/08/07

As of the date you file, the claim is: Check all that apply

El Contingent
El unliquidated
L__l Disputed

Type of NONPR|OR|TY unsecured claim:

El Student loans

El Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

n Other. Specify CRED|T CARD

 

Last 4 digits of account number l_ 1 L l
When was the debt incurred? 06/14/2006

As of the date you file, the claim is: Check all that apply.

m Contingent
Cl Unllquidated
Cl Disputed

Type of NONPR|OR|TY unsecured claim:

El Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

m Debts to pension or pmm-sharing plansr and other similar debts

El other speedy NOT|CE ONLY

Case: 18-40460 Doc# 15 Filed: 04/02/18 Entered: 04/02/18 14:21:25 Page 3 of 8

Schedule E/F: Creditors Who Have Unsecured Claims

page`?’_ Of 8_

Debtor1 cARA PlETFthA

CORDON|

 

Firsl Name Middle Name Last Name

m List All of Your NONPR|OR|TY Unsecured Claims

Case numberm,m,,18-40460-.1@5 CHAFtLE NovAoK

 

 

3. Do any creditors have nonpriority unsecured claims against you?

l:l No. You have nothing to report in this part Submit this form to the court with your other schedules

Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. lf a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. lf more than one creditor holds a particular claiml list the other creditors in Part 3.|f you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

E| 4,7 |\/|YLOFl F|NANC|AL LLC

 

Nonprioriiy Creditor's Name

C/O BANK OF Al\/lEFl|CA, POBOX 5170

 

 

Number Street
S|l\/|l VALLEY CA 93062
Cily State ZlP Code

Who incurred the debt? Check one

2 Debtor1 only

a Debtor 2 only

a Debtor1 and Debtor 2 only

n At least one of the debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?
a No
El Yes

4.8 WASH|NGTON |\/|UTUAL BANK FA

 

Nonpriority Creditor's Name

2273 GFlEEN VALLEY PARKWAY STE 14

 

 

Number Street
HENDERSON NV 89014
City Slate ZlP Code

Who incurred the debt? Check one.

a Debtor1 only

l;l Debtor 2 only

n Debtor1 and Debtor 2 only

Cl At least one of the debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?
2 No
El Yes

_"*'
m

4.9 WAMU lvlortgage Passthrough Certificates

 

Nonpriority Creditor's Name

Series 2006-AR9 Trust c/o US BANK NA, as Trustee

 

 

Number Street
700 Kansas Ln., l\/lonroe LA 71203
City Siate ZlP Code

Who incurred the debt? Check one

a Debtor1 only

l;l Debtor 2 only

n Debtor1 and Debtor2 only

El At least one of the debtors and another

El check if this claim is for a community debt

ls the claim subject to offset?
a No
a Yes

Officia| Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

 

 

Total claim
- - 4 0 2 1
Last 4 digits of account number_ _ _ _ 3 42’000_00
When was the debt incurred?
As of the date you file, the claim is: Check all that apply
m Contingent
Cl unliquidated
M Disputed
Type of NONPR|OR|TY unsecured claim:
l;l Student loans
m Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
El Debts to pension or profit-sharing plans, and other similar debts
U other specify LOAN
Last 4 digits of account number _7 _l __2_ _2~ $M
When was the debt incurred? W1_/2006
As of the date you file, the claim is: Check all that apply.
m Contingent
El unliquidated
a Disputed
Type of NONPR|OR|TY unsecured claim:
El Student loans
n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
n Debts to pension or profit-sharing plans, and other similar debts
g Other Specify LOAN
Last 4 digits of account number _Z _j_ _2_ l $ O_OO

When was the debt incurred? 07/22/2006

As of the date you file, the claim is: Check all that apply.

l:l Contingent
Cl unliquidated
g Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

U other Specify alleged LOAN NOT|CE ONLY

Case: 18-40460 Doc# 15 Filed: 04/02/18 Entered: 04/02/18 14:21:25 Page 4 of 8

page4_ Of8_

CAFiA P|ETFi|NA COFiDON|

Debtor 1

 

Firsl Name Middle Name Lasl Name

ease number u,j_mm, 18-40460-JGE cHAFiLE NOVACK

 

m Your NONPR|OR|TY Unsecured Claims - Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

41C

 

 

 

WELLS FARGO CARD SERV|CES Credit bureau disp

Nonprioriiy Creditor's N:imu

PO BOX 14517

 

 

 

Number Street
DES l\/lO|NES, |A 50306
City Stale ZlP Code

Who incurred the debt? Check one.

a Debtor 1 only

m Debtor2 only

El Debtor1 and Debtor 2 only

El At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

g No
cl Yes

 

Pennyl\/|ac Holding, lnc c/o A|dridge Pite LLP

Nonpriority Creditor's Name

4375 Jutland Dr, STE. 200 POBOX 17934

 

 

 

Number Street
SAN DlEGO CA 92117
City Slale ZlP Code

Who incurred the debt? Check one

a Debtor1 only

cl Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?

g No
m Yes

P|NE C|TY OUTFiEACH TFlUST

Nonprioriiy Creditor's Name

422 E. CASTFiO VALLEY BLVD STE 200

 

 

 

Number Street
SAN LEANDRO CA 94578
City State ZlP Code

Who incurred the debt? Check one.

a Debtor1 only

n Debtor 2 only

Cl Debtor1 and Debtor 2 only

m /-\t least one of the debtors and another

l;] Check if this claim is for a community debt

ls the claim subject to offset?

g No
n Yes

 

 

Total claim

Last 4 digits of account number l 1 _2_ 7_ $ 3’221_00;
When was the debt incurred? 02/02/2011
As of the date you file, the claim is: Check all that apply
n Contingent
Cl unliquidated
g Disputed
Type of NONPR|OR|TY unsecured claim:
n Student loans
m Obligations arising out of a separation agreement or divorce that

you did not report as priority claims
n Debts to pension or profit-sharing plans, and other similar debts
g Other Specify CHED|T CFiD
Last 4 digits of account number L g _W_ l $ 0.00
When was the debt incurred? 01/20/2007
As of the date you file, the claim is: Check all that apply
n Contingent
El unliquidated
a Disputed
Type of NONPR|OR|TY unsecured claim:
n Student loans
n Obligations arising out of a separation agreement or divorce that

you did not report as priority claims
n Debts to pension or profit-sharing plans, and other similar debts
U other speedy NOT|CE ONLY

$ 0,00

Last 4 digits of account number § 2 _Vl M

01 /20/2007

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

m Contingent
C| unliquidated
a Disputed

Type of NONPR|OR|TY unsecured claim:

m Student loans

m Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

g Other Specify NOT|CE ONLY

 

Case: 18-40460 Doc# 15 Filed: 04/02/18 Entered: 04/02/18 14:21:25 Page 5 of 8

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page~r’_ Of§_

Debtor1 cARA PiETRiNA

CORDONI

 

Firsl Name Mldde Name Lut Name

List All of Your NoNPRlQR|TY Unsecured Claims

3 3. Do any creditors have nonpriority unsecured claims against you?

Case numberu,,mm 18-40460-JGE CHARLES NOVAC]

 

|:l No. You have nothing to report in this pait. Submit this form to the court with your other schedules

Yes

; 4. List ali of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. lf a creditor has more than one
nonpriority unsecured clalm. list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included ln Part 1. lf more than one creditor holds a particular claiml list the other creditors in Part 3.|f you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

4.12 SPEC[ALIZED LOAN SERVICING LLC

 

Nonpnoniy Creditors Name

PO BOX630147

 

 

Number Street
LITTLETON CO 80163
Cliy Slale ZlP Code

Who incurred the debt? Check one.

m Debtor1 only

n Debtor2 only

n Debtor 1 and Debtor 2 only

a At least one of the debtors and another

n Check if this claim is for a community debt

is the claim subject to offset?
m No
n Yes

4,13 STEVE ROBERT MASON

.-"-
i\)

 

Nonpriority Creditors Name

2518 ENCINAL AVENUE

 

 

Number Street
ALAME DA C A 94 5 0 l
City State ZlP Code

Who incurred the debt? Check one.

m Debtor 1 only

cl Debtor 2 only

n Debtor 1 and Debtor2 only

l:l At least one of the debtors and another

l:l Check if this claim is for a community debt

is the claim subject to offset?

m No
n Yes

4.14 SELECT PORTFOLIO SERVICING INC

 

Nonpn`olity Creditors Name

P. O. BOX 65250

 

 

Number Street
SALT LAKE CITY UT 84165
City Siate ZlP Code

Who incurred the debt? Check one.

g Debtor 1 only

n Debtor 2 only

l:l Debtor1 and Debtor 2 only

El At least one of the debtors and another

Cl check if this claim is for a community debt

ls the claim subject to offset?
q No
n Yes

Official Form 106E/F

Total claim
Last4digits of account numberi l l _2_ 30000

When was the debt incurred?

As of the date you file, the claim is: Check all thatapply.

n Contingent
Cl unliquidated
Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out cf a separation agreement or divorce
that you did not report as priority claims

n Debts to pension or profit-sharing plans. and other similar debts

g Other. Specify LOAN

Last 4 digits of account number _ 2 l _§_ 5 0

N
When was the debt incurred? 01/2017

 

As of the date you file, the claim is: Check all that apply.

n Contingent
El unliquidated
m Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

cl Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

n Debl$ to PB“GF°“ ar timm-sharing plans, and other similar debts
ii onto emery Nr)TiCi~: Oi~ii.‘r'

Last 4 digits of account number _7 _8 _1_ _0
When was the debt incurred? ?

As of the date you file, the claim is: Check all that apply.

a Contingent
cl Un|iquidated
m Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

cl Debts to pension or profit-sharing plans, and other similar debts

n Other. Specify NOTICE'. ONLY

Schedule ElF: Creditors Who Have Unsecured Claims

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Case: 18-40460 Doc# 15 Filed: 04/02/18 Entered: 04/02/18 14:21:25 Page 6 opia§ o

tt'(.;
CARAF,EJTW£{\]ORDON|

' l‘.'
F':rr-t Nilmi)"1 " ' 'MirTrl!d.' errnl:i

Debtor 1 Case number rlll<urimll 18'40460 JGE~ C~ NOVACK

 

 

L.l ~_-i l~lzlrrirl

m List Others to Be Notified About a Debt That You Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

Official Form 106E/F

examp|e, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Simi|arly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. lf you do not have additional persons to be notified for any debts in Parts1 or 2, do not fill out or submit this page.

Affinia Defau|t Services LLC

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

On which entry in Part1 or Part 2 did you list the original creditor?

Name
301 E. OCeari B|Vd. #1720 Line of (Check one): Cl Part1: Creditors with Priority Unsecured Claims
Number S“ee‘ Cl Part 21 Creditors with Nonpriority Unsecured Claims
Long Beach CA 90802 Last4 digits of account number_ __ ____ _
Cily Slale ZlP Code
BANK OF NEW YORK l\/|ELLON,ASTRUSTEE On which entry in Part1 or Part 2 did you list the original creditor?
Name
FOR (CW|V|BS ZOOG_OAjj Line 4.7 of (Check one): n Part 11 Creditors with Priority Unsecured Claims
wilmqu simui El Part 21 Creditors with Nonpriority Unsecured
225 L|BERTY STREET Claims
NEW YORK NY 10286 Last 4 digits of account numberi _0 _2 _1
Cily Stall:i Zli-* Code
BAYV|EW LOAN SERV|C|NG, LLC On which entry in Part1 or Part 2 did you list the original creditor?
Name
4425 PONCE DE |_EON BLVD Line 4~7 of (Check one): El Part 11 Creditors with Priority Unsecured Claims
Number Stree‘ Cl Part 2: Creditors with Nonpriority Unsecured
5TH FLOOR Claims
CORAL GABLES FL 33146 Last4 digits of account number_4 _0 _2 _1
Clly Slale Z|P Code
JP |V|ORGAN CHASE BANK, NA On which entry in Part1 or Part 2 did you list the original creditor?
Name
P,O, BOX 183166 l_ine 4.9 of (check one): El Part 11 Creditors with Priority Unsecured Claims
Numbe' S"ee‘ El Part 21 Creditors with Nonpriority Unsecured
Claims
COLUMBUS OH 43218 Last 4 digits of account number_l _1_ __2_ _2
City State ZlP Code
LAW OFF|CES OF LES ZlEVE On which entry in Part1 or Part 2 did you list the original creditor?
Name
Line 4-7 of (Check one): El Part 1: Creditors with Priority Unsecured Claims
Number S"eel El Part 2: Creditors with Nonpriority Unsecured
30 CORPORATE PARK STE 450 Claims
|RV|NE CA 926`6 Last 4 digits of account number l _0 _2 _1
cily s_ia_i_._=_ z_l_l== i_:_u_du `
QUAL|TY LOAN SERV|CE |NC On which entry in Part1 or Part 2 did you list the original creditor?
Name
411 |VY STREET Line 4.9 of (Check one): Cl Part1: Creditors with Priority Unsecured Claims
Number Stree‘ Cl Part 21 Creditors with Nonpriority Unsecured
Claims
SAN D|EGO CA 92101 Last 4 digits of account number _7 _1 _2 _2
Ulty State Z|P Code
NSPEC|AL|ZED LOAN SERV|C|NG On which entry in Part1 or Part 2 did you list the original creditor?
Bme
P-O-BOX 630147 Line of (Check one): El Part “|: Creditors with Priority Unsecured Claims
Number Slreet j 4 _
El Part 21 Creditors with Nonpriority Unsecured
Claims
L|TTLETON, CO 80163 _ _
mw male ZlP Code Last 4 digits of account number _ _ _

Case: 18-40460 Doc# 15 Filed: 04/02/18 Entered: 04/02/18 14:21:25 Page 7 of 8

Schedule E/F: Creditors Who Have Unsecured Claims

page7_ Of§_

Debtor1 CARA P|ETR|NA CORDON|

Firsl Name Middle Name Last Name

m Add the Amounts for Each Type of Unsecured Claim

 

Case numt,er(,,k,,,,m,,13-40460-.1(3£ cHARl_E NOVACK

 

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claims
from Part 1

Total claims
from Part 2

6b.

60.

6d.

6e.

6h.

6i.

. Domestic support obligations

Taxes and certain other debts you owe the
government

Claims for death or personal injury while you were
intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

Total. Add lines 6a through 6d.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through 6i.

6e.

6b.

60.

6d.

6e.

6f.

69_

6h

6i.

611

 

 

 

 

 

 

Total claim
$_ 0.00
$ 0.00
$ 0.00
+ $ 0.00
$ 0.00
Total claim
5 0.00
$ 0.00
$ 0.00
+ s 140,500.00
$ 140,500.00

 

 

Case: 18-40460 Doc# 15 Filed: 04/02/18 Entered: 04/02/18 14:21:25 Page 8 of 8

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

pagea_ Of 8_

